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                                                                                    2019 Apr-30 PM 03:41
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

KAYLAN MORRIS, on behalf of                     )
herself and all others similarly situated,      )
                                                )
                     Plaintiff,                 )
                                                )
v.                                              ) Civil Action No.: ______________
                                                )
WALMART INC. f/k/a WAL-MART                     )
STORES, INC.                                    ) CLASS ACTION COMPLAINT
                                                )   FOR EQUITABLE RELIEF
                                                )          AND DAMAGES
                     Defendant.                 )


                          CLASS ACTION COMPLAINT

        Plaintiff, Kaylan Morris, on behalf of herself and all others similarly situated,

brings this class action against Defendant Walmart Inc., f/k/a Wal-Mart Stores, Inc.

(“Walmart”), and alleges on personal knowledge, investigation of her counsel, and

on information and belief as follows:

                                  INTRODUCTION

     1. Plaintiff brings this class action on behalf of herself and all other similar

situated persons and against Walmart seeking damages and equitable relief for

herself and the putative Classes.

     2. This action stems from Walmart’s false labelling, false advertising, and

deceptive practices concerning its “Parent’s Choice Pediatric Shake” which purports

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to be “Naturally Flavored Balanced Nutrition to Help Kids Thrive.” (emphasis in

original). It further purports to have “No Synthetic Color, Flavor or Sweeteners.”

This advertising is false and misleading.

   3. The Plaintiff’s claims are for Unjust Enrichment (Count I), VIOLATION OF THE

MAGNUSON-MOSS WARRANTY ACT (Count II), Breach of Express Warranty (Count

III), Breach of Implied Warranty (Count IV), violation of the ALABAMA DECEPTIVE

TRADE PRACTICES ACT (Count V).

                                     PARTIES

      4.     Plaintiff Kaylan Morris is a resident citizen of Bessemer, Alabama.

      5.     Defendant Walmart Inc. is a citizen of Delaware and Arkansas as it is

incorporated in the State of Delaware with its principal place of business at 702 S.W.

8th St., Bentonville, AR 72716.

      6.     Walmart may be served with process through its registered agent, CT

Corporation System, 2 North Jackson St, Suite 605, Montgomery, AL 36104.

                          JURISDICTION AND VENUE

      7.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §

1332(d) because there are more than 100 Class members, the aggregate amount in

controversy exceeds $5,000,000.00, exclusive of interest, fees, and costs, and at least

one Class member, Plaintiff, is a citizen of a state different from Defendant.




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      8.     This Court has personal jurisdiction over Defendant as many of the acts

and omissions giving rise to this action occurred in the State of Alabama, including

purchases of the Shakes by the Plaintiff and other putative Class Members.

Defendant has sufficient minimum contacts with the State of Alabama and

intentionally availed itself, and continues to avail itself of the jurisdiction of this

Court through its business ventures; specifically, the promotion, sale, marketing, and

distribution of their products, including the Shakes, in this State through its 100 plus

stores and multiple distribution warehouses located in this State.

      9.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to the Plaintiff’s claims

occurred in this District as Defendant does business throughout this District,

including promoting, selling, marketing and distributing the Shakes at issue, and the

named Plaintiff purchased the Shakes in this District.

                    GENERAL FACTUAL ALLEGATIONS
                    COMMON TO ALL CLASS MEMBERS

   A. Walmart’s Advertising of the Shakes

      10.    Walmart develops, designs, formulates, manufactures, packages,

labels, advertises, markets, distributes and sells its “Parent’s Choice Pediatric

Shake” (“Shake”) in its Alabama stores, in its national stores, and through its online

stores to both Alabama and nationally.



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      11.        Walmart’s advertising is targeted towards mothers or expectant

mothers who wish to provide their babies high quality nutrition advertising that the

Shakes are “easy, ready-to-drink, gluten-free shakes that are easy to slip into your

diaper bag.”

      12.        As to the “Parent’s Choice” brand, Walmart states that it is a “special

range of products for baby … complete baby collection specially selected with love

and attention to this special time in your family's life. With a trust and safety

guarantee … Parent's Choice takes care of everything little ones need at an every

day        low      price.”          https://www.walmart.com/cp/parents-choice-baby-

products/4549164.

      13.        The Shake’s packaging and label contains the following:

                 a. “Naturally Flavored”

                 b. “Balanced Nutrition to Help Kids Thrive”

                 c. “No Synthetic Color, Flavor or Sweeteners”

                 d. “Nutrition to help kids grow”

      14.        In fine print on the rear of the bottle, the “Ingredients” listed are as

follows:

                 a. Water, Maltodextrin, Sugar, Milk Protein Concentrate, High Oleic
                    Safflower Oil, Canola Oil, Cellulose Gel, Soy Protein Isolate, Short-
                    Chain Fructooligosaccharides (FOS), Natural Flavors, Soy Lecithin,
                    Fish Oil (DHA), Carrageenan, Salt, Potassium Hydroxide, Monk
                    Fruit, Stevia.

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      15.    In fine print on the rear of the bottle, the “Vitamins and Minerals” listed

are as follows:

             a. Choline Bitartrate, Dimagnesium Phosphate, Tricalcium Phosphate,
                Potassium Chloride, Magnesium Chloride, Ferrous Sulfate, Zinc
                Sulfate, dl-Alpha-Tocopheryl Acetate (Vitamin E), D-Calcium
                Pantothenate (Vitamin B5), Niacinamide (Vitamin B3), Thiamine
                Hydrochloride (Vitamin B1), Manganese Sulfate, Pyridoxine
                Hydrochloride (Vitamin B6), Riboflavin (Vitamin B2), Copper
                Sulfate, Vitamin A Palmitate, Folic Acid, Chromium Chloride,
                Biotin, Potassium Iodide, Phytonadione (Vitamin K1), Sodium
                Molybdenum, Cholecalciferol (Vitamin D3), Cyanocobalamin
                (Vitamin B12), Dicalcium Phosphate, Potassium Phosphate,
                Potassium Citrate, Potassium Chloride, Sodium Ascorbate.

      16.    Similarly,         Walmart’s           website,         located          at

https://www.walmart.com/ip/Parent-s-Choice-Pediatric-Shake-Vanilla-8-oz-6-

Count/38763845, contains the following advertisements:

             a. “Parent's Choice Vanilla Pediatric Shake is designed to nourish and
                support baby's development and growth.”

             b. “Our shakes also contain additional nutritional benefits like
                antioxidants, probiotics, and no synthetic color, flavor, or
                sweeteners.”

             c. “Balanced nutrition to help kids thrive.”

             d. “No synthetic color, flavor, or sweeteners.”

      17.    Walmart’s “Naturally Flavored,” “Balanced Nutrition” and “No

Synthetic Color, Flavor, or Sweeteners” statements prominently displayed on the

front of the box and on the front of the individual packaging are untrue, misleading

and likely to deceive reasonable consumers such as Plaintiff, because the Shakes are
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not “Naturally Flavored”, are not a “Balanced Nutrition,” and do contain “Synthetic

Color, Flavor or Sweeteners.” This is because the Shakes contain unnatural and

synthetic ingredients such as maltodextrin.

       18.    Walmart’s advertising and labelling of the Shakes is uniform through

all media throughout the United States.

       19.    The Shakes are typically sold in six-count cardboard packages which

contain the same advertisements and labelling as the individual Shake bottles.

       20.    Walmart’s misrepresentations and omissions are misleading, likely to

deceive, and do deceive reasonable consumers because the Shakes contain unnatural

and synthetic ingredients.

   B. Maltodextrin is a Sweetener that is Not Natural but rather is Synthetic

       21.    Merriam-Webster’s Dictionary defines “natural” as “existing or

produced by nature: not artificial.”

       22.    The United States Department of Agriculture (“USDA”), finds that an

ingredient is synthetic if it is:

       A substance that is formulated or manufactured by a chemical process
       or by a process that chemically changes a substance extracted from
       naturally occurring plant, animal, or mineral sources, except that such
       term shall not apply to substances created by naturally occurring
       biological processes.

21 C.F.R. § 501.22




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      23.    “The FDA has considered the term ‘natural’ to mean that nothing

artificial or synthetic (including all color additives regardless of source) has been

included in, or has been added to, a food that would not normally be expected to be

in                                     that                                      food.”

www.fda.gov/food/guidanceregulation/guidancedocumentsregulatoryinformation/l

abelingnutrition/ucm456090.htm+&cd=3&hl=en&ct=clnk&gl=us.

      24.    Similarly, the United States Department of Agriculture's Food Safety

and Inspection Service (“FSIS”) defines a “natural” product as one that does not

contain any artificial or synthetic ingredient, and does not contain any ingredient that

is more than “minimally processed,” i.e., one that only has undergone “traditional

processes used to make food edible or to preserve it or to make it safe for human

consumption, e.g., smoking, roasting, freezing, drying, and fermenting” and has not

been “fundamentally alter[ed].”

      25.    Maltodextrin is a texturizer used in processed foods and is created from

starch. Because producing it requires multiple processing steps in an industrial

environment, which transform starches into substances that are not found in nature,

they cannot be described as natural.

      26.    Maltodextrin is a saccharide polymer that is added to food as either a

white powder or a concentrated solution to act as a thickening agent. 21 C.F.R. §




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184.1444(a). It is commercially manufactured through the partial hydrolysis of corn

starch, potato starch, or rice starch with certain acids and enzymes. Id.

      27.     To make maltodextrin, a chemical process is used whereby the starches

are cooked and then acids or enzymes such as heat-stable bacterial alpha-amylase

are added to break the starches down further.

      28.     Maltodextrin is closely related to corn syrup solids, which are synthetic.

The one difference being maltodextrin’s sugar content. Both undergo hydrolysis, a

chemical process involving the addition of water to further assist breakdown.

However, after hydrolysis, corn syrup solids are at least 20 percent sugar, while

maltodextrin is less than 20 percent sugar.

      29.     Maltodextrin is synthetic because it is not natural but rather uses the

above described complex manufacturing chemical, thermodynamic, and mechanical

process to make it.

      30.     Maltodextrin is also a sweetener because it contains sugars, similar to

corn syrup.

      31.     Thus, maltodextrin is an unnatural synthetic sweetener contained in the

Shakes which is directly contrary to the Shakes’ labelling.

      32.     The term “natural” does not apply to products that contain artificial or

synthetic ingredients, which are not natural by their very definitions.




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      33.    Thus, the presence of maltodextrin in the Shakes, which is an artificial

and/or synthetic ingredient, causes the Shakes to not be naturally flavored.

   C. Walmart Deceptively Markets the Shakes to Induce Consumers to

      Purchase the Shakes

      34.    Representations that a product is “Naturally flavored” has a “Balanced

Nutrition to Help Kids Thrive” and contains “No Synthetic Color, Flavor or

Sweeteners” is material to a reasonable consumer.

      35.    Walmart advertises its Shakes with these promises to increase the sales

of its products. Walmart is aware that the claims are material to consumers.

      36.    Despite knowing that the Shakes contain unnatural and synthetic

ingredients, including sweeteners, Walmart has engaged in a widespread marketing

and advertising campaign to portray the Shakes as a great nutritional supplement for

kids. The opposite is true.

      37.    Because it is not feasible for a reasonable consumer to physically

examine or test the contents of a food product prior to sale, consumers must and do

rely on representations and product appearance to determine which food product to

buy among comparable alternatives.

      38.    Products that are entirely enclosed in packaging, such as Walmart’s

Shakes, require the consumer to rely entirely on representations about the product.




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      39.     Here, Plaintiff and the other Class members reasonably relied to their

detriment on Walmart’s deceptive representations and omissions.

      40.     Walmart made the deceptive representations and omissions on the

Shakes with the intent to induce Plaintiff and the other Class members’ purchase of

the Shakes.

      41.     Walmart’s false, misleading and deceptive representations and

omissions are likely to continue to deceive and mislead reasonable consumers and

the general public, as they have already deceived and mislead the other Class

members.

      42.     Had     Walmart   not   made    false,   misleading   and   deceptive

misrepresentations and omissions, Plaintiff and the other Class members would not

have been economically injured.

              PLAINTIFF’S SPECIFIC FACTUAL ALLEGATIONS

      43.     Plaintiff Kaylan Morris purchased Walmart’s Parent’s Choice Pediatric

Shakes during the Class Period (defined below), including but not limited to the

Vanilla Parent’s Choice Nutritional Shakes and Chocolate Parent’s Choice

Nutritional Shakes.

      44.     Plaintiff purchased these Shakes from Walmart locations across

Alabama and specifically in Jefferson County, Alabama.

      45.     Plaintiff bought these Shakes for her young son, Jaxon Morris.

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      46.    Plaintiff’s son is an extremely picky eater and Plaintiff bought

Walmart’s Shakes to help supplement his diet and based upon the promises Walmart

made on the labelling.

      47.    Plaintiff was concerned about her son’s diet and nutrition. Plaintiff

opted to supplement Jaxson’s diet with Walmart’s Shakes after reading that the

Shakes were “Naturally Flavored,” provided “A Balanced Nutrition to Help Kids

Thrive,” and contained “No Synthetic Colors, Flavors or Sweeteners.”

      48.    Plaintiff was extremely upset to discover that Walmart’s Shakes were

not as advertised and contained synthetic and unnatural ingredients. Further, they

failed to contain the nutrients her son needed and instead relied on significant

sweeteners and sugars, some of which are not natural and are synthetic.

      49.    Plaintiff would not have purchased the Shakes had she known that they

contained synthetic and artificial ingredients. In fact, as soon as Plaintiff found out

about Walmart’s misrepresentations, she stopped purchasing the Shakes.

      50.    Walmart’s misrepresentations were material to Plaintiff’s purchase

decision because Plaintiff, acting as a reasonable consumer, cares about whether

Walmart’s Shakes contain synthetic or artificial ingredients, and thus attaches

importance to the statements “Naturally Flavored” and containing “No Synthetic

Color, Flavor or Sweeteners” when making a decision to purchase the Shakes.




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      51.    As a result of Walmart’s misrepresentations, Plaintiff brings this class

action to secure, among other things, equitable relief, declaratory relief, restitution

and alternative damages, for a Class of similarly situated United States purchasers,

against Walmart.

      52.    Plaintiff seeks damages individually and on behalf of the Class.

                        CLASS ACTION ALLEGATIONS

      53.    Plaintiff brings this action on her own behalf, and on behalf of the

following Class pursuant to FED. R. CIV. P. 23(a), 23(b)(2), and/or 23(b)(3).

Specifically, the Class is defined as:

             a. All persons in the United States who, within the relevant and
                applicable statute of limitations period, purchased a Parent’s Choice
                Pediatric Shake.

      54.    Plaintiff also brings this action on her own behalf, and on behalf of the

following Subclass pursuant to FED. R. CIV. P. 23(a), 23(b)(2), and/or 23(b)(3).

Specifically, the Subclass is defined as:

             a. All persons in Alabama who, within the relevant and applicable
                statute of limitations period, purchased a Parent’s Choice Pediatric
                Shake.

      55.    Excluded from the Class are (a) any person who purchased the Shake

for resale and not for personal or household use, (b) any officers, directors or

employees, or immediate family members of the officers, directors or employees, of

Walmart or any entity in which a Walmart has a controlling interest, (c) any legal

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counsel or employee of legal counsel for Walmart, and (d) the presiding Judge in the

Lawsuit, as well as the Judge’s staff and their immediate family members. Plaintiff

reserves the right to amend the definition of the Class if discovery or further

investigation reveals that the Class should be expanded or otherwise modified.

      56.     Numerosity. Class Members are so numerous and geographically

dispersed that joinder of all Class Members is impracticable. While the exact number

of Class Members remains unknown at this time, upon information and belief, there

are tens of thousands of putative Class Members. Class Members may be notified of

the pendency of this action by mail and/or electronic mail, which can be

supplemented if deemed necessary or appropriate by the Court with published

notice.

      57.     Predominance of Common Questions of Law and Fact. Common

questions of law and fact exist as to all Members of the Class and predominate over

any questions affecting only individual Class Members. These common legal and

factual questions include, but are not limited to, the following:

              a. Whether Walmart failed to comply with its warranties;

              b. Whether Walmart’s conduct constitutes a breach of applicable
                 warranties;

              c. Whether Walmart was unjustly enriched by selling the Shakes in
                 light of its conduct as described herein;

              d. Whether advertising the Shakes as being “Naturally Flavored” is
                 false and/or deceptive;
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             e. Whether advertising the Shakes as being “Balanced Nutrition to
                Help Kids Thrive” is false and/or deceptive;

             f. Whether advertising the Shake as having “No Synthetic Color,
                Flavor or Sweeteners” is false and/or deceptive;

             g. Whether the Shakes are “Natural;”

             h. Whether Walmart has misrepresented facts about the Shakes;

             i. Whether Walmart’s representation and omissions regarding the
                nature of the Shakes constitute false and/or deceptive trade
                practices;

             j. Whether Walmart’s acts, omissions or misrepresentations of
                material facts violated state deceptive practice acts, including those
                of the State of Alabama;

             k. Whether the Plaintiff and putative Class Members have suffered an
                ascertainable loss as a result of Walmart’s acts, omissions or
                misrepresentations of material facts;

             l. Whether the Plaintiff and putative Class Members are entitled to
                monetary damages and, if so, the amount of such relief; and

             m. Whether the Plaintiff and putative Class Members are entitled to
                equitable, declaratory or injunctive relief and, if so, the nature of
                such relief.

      58.    Pursuant to Rule 23(b)(2), Walmart has acted or refused to act on

grounds generally applicable to the putative Class, thereby making final injunctive

or corresponding declaratory relief appropriate with respect to the putative Class as

a whole. In particular, Walmart has designed, manufactured, marketed, sold and/or

distributed the Shake, which Defendant knows or should have known was advertised

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false and/or deceptively and provided an inadequate disclosure to consumers,

including the Plaintiff and the putative Class Members.

      59.    Typicality. Plaintiff’s claims are typical of the claims of the Members

of the putative Class, as each putative Class Member was subject to the same

common false and/or misleading advertising. Plaintiff shares the aforementioned

facts and legal claims or questions with putative Class and the Plaintiff and all

putative Class Members have been similarly affected by Walmart’s common course

of conduct alleged herein. The Plaintiff and all putative Class Members sustained

monetary and economic injuries including, but not limited to, ascertainable loss from

their purchases of the Shakes.

      60.    Adequacy. The Plaintiff will fairly and adequately represent and

protect the interests of the putative Class. Plaintiff has retained counsel with

substantial experience in handling complex class action litigation, including

complex questions that arise in this type of consumer protection litigation. Further,

Plaintiff and her counsel are committed to the vigorous prosecution of this action.

      61.    Superiority. A class action is superior to other available methods for

the fair and efficient adjudication of the present controversy for at least the following

reasons:

             a. The damages suffered by each individual putative Class Member do
                not justify the burden and expense of individual prosecution of the
                complex and extensive litigation necessitated by Walmart’s
                conduct;
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      b. Even if individual Class Members had the resources to pursue
         individual litigation, it would be unduly burdensome to the courts in
         which the individual litigation would proceed;

      c. The claims presented in this case predominate over any questions of
         law or fact affecting individual Class Members;

      d. Individual joinder of all putative Class Members is impracticable;

      e. Absent a Class, the Plaintiff and putative Class Members will
         continue to suffer harm as a result of Walmart’s unlawful conduct;
         and

      f. This action presents no difficulty that would impede its management
         by the Court as a class action, which is the best available means by
         which the Plaintiff and putative Class Members can seek redress for
         the harm caused by Walmart.

62.   Alternatively, the Class may be certified for the following reasons:
      a. The prosecution of separate actions by individual Class Members
         would create a risk of inconsistent or varying adjudication with
         respect to individual Class Members, which would establish
         incompatible standards of conduct for Walmart;

      b. Adjudications of individual Class Members’ claims against
         Walmart would, as a practical matter, be dispositive of the interests
         of other putative Class Members who are not parties to the
         adjudication and may substantially impair or impede the ability of
         other putative Class Members to protect their interests; and

      c. Walmart has acted or refused to act on grounds generally applicable
         to the putative Class, thereby making appropriate final and
         injunctive relief with respect to the putative Class as a whole.

                      CAUSES OF ACTION

                             COUNT I
                     UNJUST ENRICHMENT
      (On behalf of the Nationwide Class and State Subclass)
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      63.     Plaintiff, individually and for the Class, incorporates by reference all

preceding paragraphs as though fully set forth herein.

      64.     Plaintiff asserts this cause of action on behalf of herself and the

Nationwide Class as well as the Alabama subclass.

      65.     A party is unjustly enriched when it retains a benefit to the detriment of

another party against the fundamental principles of justice, equity, and good

conscience.

      66.     Walmart’s transactions with Plaintiff and putative Class Members, as a

result of Walmart’s wrong acts and omissions set forth herein, were intended to

result in, and did result in, sale of the Shakes.

      67.     Walmart has been unjustly enriched after making false, deceptive

and/or misleading representations in advertisements and on the labels and/or

package inserts/instructions of the Shakes because Walmart knew, or should have

known, that the representations made were unsubstantiated, false, deceptive and/or

misleading.

      68.     Walmart has reaped millions of dollars in revenue as a direct and

proximate result of its scheme to mislead and deceive the Plaintiff and Class

Members regarding its unsubstantiated, false, deceptive and/or misleading

representations as set forth herein.




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      69.     Walmart has amassed such earnings by virtue of its deceptive and

misleading behavior violates fundamental principles of justice, equity, and good

conscience.

      70.     The Plaintiff and putative Class Members have been damaged as a

direct and proximate result of Walmart’s unjust enrichment because they would not

have purchased the Shakes on the same terms or for the same price had they known

of the true ingredients and true nature of the Shakes.

      71.     Walmart continues to be unjustly enriched by the deceptive and

misleading labeling and advertising of the Shakes.

      72.     When required, the Plaintiff and Class Members are in privity with

Walmart because its sale of the Shakes was either direct or through authorized

sellers. Purchase through authorized sellers is sufficient to create such privity

because such authorized sellers are Walmart’s agents for the purpose of the sale of

the Shakes and even sales through authorized agents contain Shakes which bear

Walmart’s proprietary “Parent’s Choice” branding.

      73.     As a direct and proximate result of Walmart’s wrongful conduct and

unjust enrichment, the Plaintiff and putative Class Members are entitled to restitution

of, disgorgement of, and/or imposition of a constructive trust upon all profits,

benefits, and other compensation obtained by Walmart for its inequitable and

unlawful conduct.

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                             COUNT II
       VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
                      (15 U.S.C. § 2301, et seq.)
                 (On behalf of the Nationwide Class)

      74.    Plaintiff, individually and for the Class, incorporates by reference all

preceding paragraphs as though fully set forth herein.

      75.    Plaintiff asserts this cause of action on behalf of herself and the

Nationwide Class.

      76.    Walmart sold the Shakes as part of its regular course of business.

      77.    The Plaintiff and putative Class Members purchased the Shakes either

directly from Walmart or through authorized retailers.

      78.    All Shakes contain the same labelling and advertisements and

Walmart’s exclusive branding of “Parent’s Choice.”

      79.    The MAGNUSON–MOSS WARRANTY ACT, 15 U.S.C. §§ 2301, et seq.,

provides a cause of action for any consumer who is damaged by the failure of a

warrantor to comply with a written warranty.

      80.    The Shakes is a “consumer product” as that term is defined by 15

U.S.C. § 2301(1), as it constitutes tangible personal property which is distributed in

commerce and which is normally used for personal, family or household purposes.

      81.    The Plaintiff and putative Class Members are “consumers” and

“buyers” as defined by 15 U.S.C. § 2301(3), since they are buyers of the Shakes for

purposes other than resale.
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       82.     Walmart is an entity engaged in the business of making and selling the

Shakes, either directly or indirectly, to consumers such as the Plaintiff and the

putative Class Members. As such, Walmart is a supplier as defined in 15 U.S.C. §

2301(4)

       83.     Walmart “guarantee[d]” the Shakes by expressly stating so on

their label.

       84.     Walmart made promises and representations in an express

warranty provided to all consumers, which became the basis of the bargain

between the Plaintiff, the putative Class Members, and Walmart. Walmart

expressly warranted that the Shakes were fit for its intended purpose by

making the express warranties that the Shakes are or have:

               a. “Naturally Flavored”

               b. “Balanced Nutrition to Help Kids Thrive”

               c. “No Synthetic Color, Flavor or Sweetener”

               d. “Nutrition to help kids grow”

       85.     Walmart’s aforementioned written affirmations of fact promises and/or

descriptions, as alleged, are each a “written warranty.” The affirmations of fact

promises and/or descriptions constitute a “written warranty” within the meaning of

the MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301(6).




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      86.    Walmart breached the applicable warranty because the promises made

in the label are untrue and/or misleading, rendering the Shakes unfit for their

intended use and purpose.

      87.    These failures substantially impair the use and value of the Shakes.

      88.    The failures at issue herein existed when the Shakes left Walmart’s

possession or control and were sold to the Plaintiff and putative Class Members. The

true nature of the Shakes was not discoverable by the Plaintiff or putative Class

Members at the time of their purchase.

      89.    All conditions precedent to seeking liability under this claim for breach

of express warranty have been performed by or on behalf of the Plaintiff and putative

Class Members.

      90.    Although not required, Walmart was placed on reasonable notice of the

defect in the Shakes and their breach of the warranty, and have failed to cure the

defects for the Plaintiff and putative Class Members, despite having reasonable time

to do so.

      91.    Walmart breached its express warranties since the Shakes did not

contain the properties Walmart represented them to possess.

      92.    Walmart’s breaches of warranties have caused the Plaintiff and putative

Class Members to suffer injuries, pay for Shakes without the promised properties,




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and enter into transactions they would not have entered into for the consideration

paid.

        93.   As a direct and proximate result of Walmart’s breaches of warranties,

the Plaintiff and putative Class Members have suffered damages and continue to

suffer damages, including economic damages in terms of the cost of the Shakes and

the cost of efforts to mitigate the damages caused by using the Shakes.

        94.   As a direct and proximate result of Walmart’s breaches of these

warranties, the Plaintiff and putative Class Members are entitled to legal and

equitable relief including damages, costs, attorneys’ fees, rescission, and all such

other relief deemed appropriate, for an amount to compensate them for not receiving

the benefit of their bargain.

        95.   The Plaintiff and the putative Class therefore seek and are entitled to

recover damages and other legal and equitable relief, injunctive relief and costs and

expenses (including attorneys’ fees based upon actual time expended), as provided

by 15 U.S.C. § 2310(d).

                                    COUNT III
                     BREACH OF EXPRESS WARRANTY
              (On behalf of the Nationwide Class and State Subclass)

        96.   Plaintiff, individually and for the Class, incorporates by reference all

preceding paragraphs as though fully set forth herein.




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      97.    Plaintiff asserts this cause of action on behalf of herself and the

Nationwide Class and State Subclass.

      98.     Walmart manufactured, marketed, distributed and sold the Shakes as

part of its regular course of business.

      99.    The Plaintiff and the putative Class Members purchased the Shakes

either directly from Walmart or through authorized retailers.

      100. Walmart made the foregoing express representations and warranties

nationwide to all United States consumers, which became the basis of the bargain

between the Plaintiff, the putative Class Members and Walmart, thereby creating

express warranties that the Shakes would conform to Walmart’s affirmations of fact,

representations, promises, and descriptions; specifically, that:

             a. “Naturally Flavored”

             b. “Balanced Nutrition to Help Kids Thrive”

             c. “No Synthetic Color, Flavor or Sweetener”

             d. “Nutrition to help kids grow”

      101. Walmart breached its express warranties since the Shakes did not

contain the properties Walmart represented them to possess.

      102.    The failures at issue herein existed when the Shakes left Walmart’s

possession or control and were sold to the Plaintiff and putative Class Members. The




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true nature of the Shakes was not discoverable by the Plaintiff or putative Class

Members at the time of their purchase.

      103. Walmart had actual knowledge of the breach, and given the nature of

the breach, (i.e. false representations regarding the Shakes), Walmart necessarily

had knowledge that the representations made were false, deceptive and/or

misleading.

      104.    Walmart’s breaches of warranties have caused the Plaintiff and

putative Class Members to suffer injuries, pay for Shakes without the promised

properties, and enter into transactions they would not have entered into for the

consideration paid.

      105. As a direct and proximate result of Walmart’s breaches of these

warranties, the Plaintiff and putative Class Members are entitled to legal and

equitable relief including damages, costs, attorneys’ fees, rescission, and all such

other relief deemed appropriate, for an amount to compensate them for not receiving

the benefit of their bargain.

                                  COUNT IV
                    BREACH OF IMPLIEDWARRANTY
           (On behalf of the Nationwide Class and the State Subclass)

      106. Plaintiff, individually and for the Class, incorporates by reference all

preceding paragraphs as though fully set forth herein.




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      107. Plaintiff asserts this cause of action on behalf of herself and the

Nationwide Class and the state Subclass.

      108.    Section 2-314 of the UNIFORM COMMERCIAL CODE provides that,

unless excluded or modified, a warranty that the goods shall be merchantable is

implied in a contract for their sale if the seller is a merchant with respect to goods of

that kind. To be “merchantable,” goods must, inter alia, “pass without objection in

the trade under the contract description”, “run, within the variations permitted by the

agreement, of even kind, quality and quantity within each unit and among all units

involved”, be “adequately contained, packaged, and labeled as the agreement may

require”, and “conform to the promise or affirmations of fact made on the container

or label.”

      109.    Walmart formulated, manufactured, tested, marketed, promoted,

distributed, and sold the Shakes as having certain characteristics described above,

including to the Plaintiff and putative Class Members who purchased the Shakes.

      110.    Walmart knew the use for which the Shakes were intended (in fact

expressly advertising them for baby and children’s use) and impliedly warranted the

product to be of merchantable quality, safe and fit for use.

      111.    The Plaintiff and putative Class Members reasonably relied on the

skill, express affirmations of fact, and judgment of Walmart, especially since

Walmart’s “Parent’s Choice” brand is “special range of products for baby …

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complete baby collection specially selected with love and attention to this special

time in your family's life. With a trust and safety guarantee … Parent's Choice takes

care of everything little ones need at an every day low price,” and as such their

implied warranty, in using the Shakes.

      112.   However, the Shakes were not and are not of merchantable quality or

safe or fit for their intended use, because they are unreasonably dangerous and unfit

for the ordinary purpose for which they were used. Specifically, the Shakes actual

ingredients belie Walmart’s advertisements.

      113. Walmart breached its implied warranties because the Shakes do not

have the quality, quantity, characteristics, or benefits as promised, and because the

Shakes do not conform to the promises made on their labels and/or on Walmart’s

website.

      114. As a direct and proximate result of one or more of these wrongful acts

or omissions of Walmart, the Plaintiff and putative Class Members suffered injuries

and damages.

      115. The Plaintiff and putative Class Members were injured as a direct and

proximate result of Walmart’s breach because they would not have purchased the

Shakes if they had known the true facts - the Shakes did not and does not have the

characteristics, quality, or value as impliedly warranted.




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      116. As a direct and proximate result of Walmart’s breaches of these

warranties, the Plaintiff and the putative Class Members are entitled to legal and

equitable relief including damages, costs, attorneys’ fees, rescission, and all such

other relief deemed appropriate, for an amount to compensate them for not receiving

the benefit of their bargain.

                                   COUNT V
         Violation of the ALABAMA DECEPTIVE TRADE PRACTICES ACT
                  (CODE OF ALABAMA §§ 8-19-1, et seq.)
                      (On behalf of the Alabama Subclass)


      117. Plaintiff, individually and for the Alabama Subclass, incorporates by

reference all preceding paragraphs as though fully set forth herein.

      118. Plaintiff asserts this cause of action on behalf of the Alabama Subclass.

      119.    Walmart’s marketing, sale and/or distribution of the Shakes and the

Plaintiff and the putative Alabama Subclass Members’ purchase of the Shakes was

a sale or distribution of goods to a consumer within the meaning of the ALABAMA

DECEPTIVE TRADE PRACTICES ACT (CODE OF ALABAMA §§ 8-19-1, et seq.).

      120.    Plaintiff and putative Alabama Subclass Members’ purchased the

Shakes for personal, family, or household use.

      121. Walmart’s acts and practices as described herein have misled and

deceived and/or likely to mislead and deceive members of the Alabama Subclass

and the general public of the State of Alabama. Walmart has advertised, marketed,

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and sold the Shakes as having certain characteristics, as set forth herein. Thus,

Walmart has wrongfully:

             a.    represented that its goods (i.e., the Shakes) have sponsorship,
                   approval, characteristics, ingredients, uses benefits or qualities
                   that they do not have;

             b.    represented that its goods (i.e., the Shakes”) are of a particular
                   standard, quality, or grade, or that its goods (i.e., the Shakes”)
                   are of a particular style or model, if they are of another;

             c.    failed to provide adequate warnings or instruction that a
                   manufacturer exercising reasonable care would and should have
                   provided concerning the risk of suffering Injuries from use
                   and/or repeated use of the Shakes, particularly in light of the
                   likelihood that the Shakes would Injuries;

             d.    knowingly, intentionally, and/or recklessly omitted, suppressed,
                   and/ or concealed the true, unreasonably dangerous nature of the
                   Shakes;

             e.    knowingly, intentionally, and/or recklessly omitted, suppressed,
                   and/or concealed that the use of the Shakes posed a significant
                   risk of chemical burns, allergic reactions, and other Injuries,
                   particularly among African Americans;

             f.    knowingly, intentionally, recklessly, or negligently omitted
                   proper warnings from being placed on its packaging, or
                   otherwise calling attention to this dangerous propensity—which
                   caused serious personal injuries in many consumers including
                   the Plaintiff and numerous putative Class Members; and,

             g.    engaged in unconscionable, false, misleading, and/or deceptive
                   acts and/or practices in the conduct of trade or commerce –
                   marketing, advertising, and selling the Shakes.

      122. By its actions, Walmart is disseminating uniform false advertising by

its labeling, concerning the Shakes, which by its nature is unfair, deceptive, untrue,
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and/or misleading within the meaning of the ALABAMA DECEPTIVE TRADE

PRACTICES ACT. Such actions are likely to deceive, do deceive, and continue to

deceive the Alabama general public for all the reasons detailed herein above.

      123. Walmart intended for the Plaintiff and Alabama Subclass Members to

rely on its representations and omissions and the Plaintiff and Alabama Subclass

Members did rely on Walmart’s misrepresentations and omissions of fact.

      124. The misrepresentations and omissions of fact constitute deceptive, false

and misleading advertising in violation of the ALABAMA DECEPTIVE TRADE

PRACTICES ACT.

      125. By performing the acts described herein Walmart caused monetary

damage to the Plaintiff and Alabama Subclass Members of similarly situated

individuals.

      126. Accordingly, Plaintiff requests the following relief both individually

and on behalf of the Alabama Subclass Members:

               a.   actual damages sustained by the Plaintiff and Alabama Subclass
                    Members or the sum of $100.00, whichever is greater;

               b.   three times actual damages;

               c.   appropriate injunctive relief in the form of enjoining Defendant
                    from continuing to violate Alabama statutory law;

               d.   attorneys’ fees and costs; and

               e.   such other and further relief as the Court deems proper.

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                            PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff, individually and on behalf of all others similarly

situated, seeks judgment against Defendant, as follows:

            a.     For an order certifying the Class under FEDERAL RULE OF CIVIL
                   PROCEDURE 23;

            b.     For an order and naming the Plaintiff as representatives of the
                   Class and Subclass;

            c.     For an order naming Plaintiff’s counsel as Class Counsel to
                   represent the Class and Subclass;

            b.     For an order declaring that Defendant’s conduct violates the
                   statutes and/or laws referenced herein;

            c.     For an order finding in favor of the Plaintiff, the Class and the
                   Subclass on all counts asserted herein;

            d.     For compensatory, statutory, and punitive damages in amounts
                   to be determined by a jury and/or the Court;

            e.     For prejudgment interest on all amounts awarded;

            f.     For an order of restitution and all other forms of equitable
                   monetary relief, including disgorgement of all profits and ill-
                   gotten monetary gains received by Walmart from sales of the
                   Shakes;

            g.     For an order enjoining Walmart from continuing the unlawful
                   practices detailed herein; and

            h.     For an order awarding the Plaintiff, the Class and the Subclass
                   their reasonable attorneys’ fees and expenses and costs of suit.


 PLAINTIFF HEREBY DEMANDS A TRIAL BY JURY ON ALL ISSUES
                     SO TRIABLE.
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Respectfully submitted, this the 30th day of April, 2019.

                                        /s/ Taylor C. Bartlett
                                        W. Lewis Garrison, Jr.
                                        lewis@hgdlawfirm.com
                                        Taylor C. Bartlett (ASB-2365-A51B)
                                        taylor@hgdlawfirm.com
                                        HENINGER GARRISON DAVIS, LLC
                                        2224 First Avenue North
                                        Birmingham, AL 35203
                                        Telephone: 205-326-3336
                                        Facsimile: 205-326-3332

                                        J. Stuart McAtee (ASB-0868-T52J)
                                        ALEXANDER SHUNNARAH
                                        PERSONAL INJURY ATTORNEYS
                                        3626 Clairmont Avenue S
                                        Birmingham, AL 35222
                                        (205) 983-8116 Office
                                        (205) 983-8416 Fax
                                        smcatee@asilpc.com

                                        Taylor A. Pruett (ASB-9085-T65W)
                                        Schreiber Law Firm, P.C.
                                        2129 First Avenue North
                                        Birmingham, Alabama 35203
                                        Phone: (205) 871-9140
                                        taylor@schreiber.law




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